     Case: 1:24-cv-04699 Document #: 27 Filed: 10/14/24 Page 1 of 3 PageID #:176



                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

JEREMY MAYORAL,                                        )
                                                       )
                        PLAINTIFF,                      )     Case No. 24-4699
                                                       )
                                                       )      Hon. Edmond E. Chang
                 v.                                    )
                                                       )
 MCGRATH CITY HYUNDAI, INC., et al,                    )
                                                       )
                        DEFENDANTS.

     PLAINTIFF'S STATUS REPORT AND MOTION FOR AN EXTENSION OF
              TIME TO SERVE DEFENDANT KEVIN CURTIS

         Plaintiff files this Status report and Motion for entry of an Order extending Plaintiff’s time

 to comply with the Court’s October 1, 2024, Order (docket #23) regarding service on Defendant,

 Kevin Curtis, through and including October 31, 2024. In support of his Report and Motion,

 Plaintiff states as follows:

         1.     Pursuant to the Court’s Order, Plaintiff confirms that written discovery and initial

disclosures were received by Defendants’ counsel. Regarding service on Defendant Curtis, Plaintiff

states the following:

         2.     On June 10, 2024, Plaintiff received Waivers of Service from all Defendants except

Kevin Curtis.

         3.     On June 12, 204, Plaintiff’s counsel inquired with the McGrath Defendants’ counsel

about whether she represented Curtis and whether Curtis would waive service. The McGrath

Defendants’ Counsel responded that same day with “checking now.”

         4.     Having not received a response, on June 26, 2024, Plaintiff’s counsel again inquired

with the McGrath Defendants’ counsel about whether she represented Curtis and whether Curtis



                                                  1
     Case: 1:24-cv-04699 Document #: 27 Filed: 10/14/24 Page 2 of 3 PageID #:177



would waive service. Later that day, the McGrath Defendants’ counsel stated: “Hi Ethan, I have

been authorized to defend Curtis and am just awaiting his approval to return the waiver of service.”

Plaintiff’s counsel checked back in with opposing counsel the next day but received no response.

          5.      Plaintiff then followed-up again on July 16, 2024, requesting that opposing counsel

send over the waiver of service. On July 17, 2024, opposing counsel responded, stating “I am having

a difficult time reaching Curtis. I need his approval to sign the waiver and do not yet have it. Still

working on it.”

          6.      On or about August 23, 2024, opposing counsel alerted Plaintiff’s counsel that she

did not represent Defendant Curtis and that she could not waive service.

          7.      Plaintiff’s counsel has attempted personal service on Curtis on four separate

occasions: 8/26/24, 9/11/24, 9/25/24, and 10/9/24. Curtis has avoided all attempts at service.

Plaintiff’s counsel notes that Defendant Curtis was arrested and charged with felony battery this

past summer and it is possible that he may be incarcerated.

          8.      For the aforementioned reasons, Plaintiff requests the Court Order the following

relief:

               a. An extension up to and including October 31, 2024, to allow for alternative service

                 on Kevin Curtis;

               b. Approval to attempt personal service at least one additional time;

               c. Pursuant to Federal Rule of Civil Procedure 4(e)(1) and 735 ILCS 5/2-203.1, grant

                 Plaintiff permission to issue alternative service of the summons and operative

                 complaint on Mr. Curtis through the combination of the following methods: (a)

                 mailing a copy of the summons and complaint in a sealed envelope with postage fully

                 prepaid via regular and certified, return receipt requested mail addressed to Curtis at



                                                     2
     Case: 1:24-cv-04699 Document #: 27 Filed: 10/14/24 Page 3 of 3 PageID #:178



              his residence; and (b) posting service by publication to provide Curtis of the pendency

              of the action and afford him an opportunity to respond.

DATED: October 14, 2024                                             Respectfully Submitted,

                                                                    By: /s/ Ethan G. Zelizer

                                                                    Attorney for Plaintiff

Ethan Zelizer
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                                 CERTIFICATE OF SERVICE


       The undersigned attorney hereby certifies that on October 14, 2024, he served the foregoing
upon the following via electronic mail pursuant to the Court’s ECF system:

       Molly M. Jones molly.jones@wickphillips.com, jaime.olson@wickphillips.com,
       julie.stackhaus@wickphillips.com

       Shelby M Broaddus      jaime.olson@wickphillips.com, shelby.broaddus@wickphillips.com

       Jonathan William Garlough      jgarlough@foley.com

       Lynne Marie Mueller      durovka@litchfieldcavo.com, mueller@litchfieldcavo.com

Attorneys for Defendants.

Respectfully submitted,

/s/ Ethan G. Zelizer
Attorney for the Plaintiff




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